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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                   Plaintiff,                   MEMORANDUM & ORDER
                                                                12-CR-350
                 - against -                                    17-CV-7013


PETER LIOUNIS,

                                   Defendant.

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GLASSER, Senior United States District Judge:

        The defendant has moved this Court for an order that would vacate his conviction, a

conviction and sentence imposed as warranted by the determination of a jury that he was guilty of

the crimes with which he was charged, having seen and heard extensive evidence of his guilt

presented at a trial over a period of three weeks. His guilt endured pre- and post-trial motions

challenging the validity of his conviction and sentence and remained undiminished after review

by the Court of Appeals, 639 F. App’x. 731 (2d Cir. 2016); a denial of his subsequent petition for

a hearing en banc; and a denial of his petition for a writ of certiorari. Precisely one year to the day

thereafter, he filed this motion pursuant to 28 U.S.C. § 2255 which, together with attached exhibits,

was 118 pages. His claims for relief are essentially that his trial and appellate counsel were

constitutionally ineffective for a variety of meritless reasons and that the sentence imposed was

procedurally and substantially flawed. Studiously avoided is any claim or reference to the

effectiveness of his pro se representation at trial.

        On March 30, 2018, he filed an amended petition containing more than 300 pages in which

he also requested the court to stay its determination pending the decision of the Supreme Court in

McCoy v. Louisiana, which was decided on May 14, 2018. 138 S. Ct. 1500 (2018). His motion
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for a stay was denied, and the government’s request to extend its time to respond to June 29, 2018

was granted. ECF No. 297. On that day, the government did respond by filing a 42-page

Memorandum of Law addressing every one of defendant’s claims in a meticulously reasoned

factual and legal refutation.    A studied reading of that Memorandum of Law against the

background of the Court’s familiarity with this case compels that his motion be denied. That

background was acquired by presiding over a challenging trial, extensive pre- and post-trial

submissions, and countless written and oral Orders addressing them. In one of those Orders, the

Court noted that the defendant had

       thus far filed 22 pro se applications for legal relief in 130 typed single spaced pages
       to which 333 pages of exhibits were attached numbering 463 pages in all. The
       number of Orders issued in response to those applications thus far has not been
       tallied. In a letter dated September 17, 2013, Dkt. No. 108, the defendant was
       admonished for seeking to file a mass of materials the Clerk of the Court refused to
       docket because the volume would cause the scanner to repeatedly jam by the dog-
       eared pages and the heavy duty staples. His attention was specifically called in that
       regard to 28 U.S.C. § 1927.

ECF No. 152 at 2-3.

       In denying his motion, I adopt in its entirety, and incorporate herein, the government’s

Memorandum of Law in opposition to it. ECF No. 302. That superb disquisition together with

the Mandate of the Court of Appeals affirming the defendant’s judgment of conviction, ECF No.

276, makes the addition to them of no more than one word, superfluous. A written Order by this

Court, recounting the reasons for denying this motion, would, in addition to being superfluous, be

a poorly disguised exercise in plagiarism.

       What I have described is a relentless tsunami of hundreds of pages of meritless motions

seeking relief from claims which have been resolved against him by a jury, by this Court, by the

Court of Appeals, and thought unworthy of further consideration by the Supreme Court in its denial

of his petition for a writ of certiorari. What, then, is the entitlement of this serial offender to


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smother the Clerk’s Office of this Court, the judge’s chambers and the Office of the United States

Attorney, with many hundreds of pages of repetitious faux legal arguments of the jailhouse lawyer

to incommensurably burden, that befalls the need to respond to its claims? Nearly fifty years ago,

Judge Friendly asked in discussing collateral attacks on fully litigated criminal convictions, “Is

innocence irrelevant?” Henry J. Friendly, Is Innocence Irrelevant? Collateral Attacks on Criminal

Judgments, 38 U. Chi. L. Rev. 142 (1970). The companion question virtually shrieks to be asked,

“Is promiscuity irrelevant?”

         The answer to both of these questions appears to be yes: Innocence and promiscuity are

irrelevant insofar as the absence of the former and the presence of the latter in a § 2255 petition

does not prevent its filing in advance. In each case, a judge will be called upon to review the

petition, the supporting affidavit, the memorandum of law, and the response elicited from the

government and to write an opinion declaring that the petitioner’s guilt was correctly determined,

procedurally and substantively, and that his claims for relief are without merit. The gnashing of

teeth in remediless frustration is no response. The burden to be borne by the judiciary and its

affiliate agencies by the filing of countless such petitions is justified if one petition is found to have

merit. Some comfort may be derived from the reflection that he who saves one life saves the

world.

         The question posed above has surely been asked before. Although not answered, a thought

on it written by Justice Harlan concurring in Mackey v. United States, 401 U.S. 667 (1971), is

appropriately recalled:

         If law, criminal or otherwise, is worth having and enforcing, it must at some time
         provide a definitive answer to the question litigants present or else it never provides
         an answer at all. Surely it is an unpleasant task to strip a man of his freedom and
         subject him to institutional restraints. But this does not mean that in so doing, we
         should always be halting and tentative. No one, not criminal defendants, not the
         judicial system, not society as a whole is benefited by a judgment providing a man

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       shall tentatively go to jail today, but tomorrow and every day thereafter his
       continued incarceration shall be subject to fresh litigation on issues already
       resolved.

Id. at 691 (Harlan, J., concurring).

       The Court need not—and will not—sit idly by as the defendant proceeds to strip the gears

of justice with repeated, repetitive, voluminous, and, above all, frivolous motions that would

litigate his conviction anew. The resources of the federal judiciary are finite; “[f]requent frivolous

filings work to diminish the ability of the courts to manage their dockets for the efficient

administration of justice.” Persaud v. United States, Nos. 04-CV-2862, 10-CV-156, 2010 WL

538823, at *5 (E.D.N.Y. Feb. 11, 2010). In light of this reality, district courts are obligated “to

protect the public and the efficient administration of justice from individuals who have a history

of litigation entailing vexation, harassment and needless expense to other parties and an

unnecessary burden on the courts and their supporting personnel.” Lau v. Meddaugh, 229 F.3d

121, 123 (2d Cir.2000) (internal quotations and citations omitted). And a court is empowered—

under 28 U.S.C. § 1651(a) and its inherent authority to control and manage its own docket to

prevent abuse of its proceedings—to impose justifiable filing restrictions on a pro se litigant. See

Safir v. U.S. Lines, Inc., 792 F.2d 19, 23-24 (2d Cir. 1986); Gasaway v. Williams, No. 8:11-CV-

549, 2012 WL 264611, at *7 (N.D.N.Y. Jan. 30, 2012). In determining whether to do so, a court

must consider the following factors:

       (1) the litigant’s history of litigation and in particular whether it entailed vexatious,
       harassing or duplicative lawsuits; (2) the litigant’s motive in pursuing the litigation,
       e.g., does the litigant have an objective good faith expectation of prevailing?; (3)
       whether the litigant is represented by counsel; (4) whether the litigant has caused
       needless expense to other parties or has posed an unnecessary burden on the courts
       and their personnel; and (5) whether other sanctions would be adequate to protect
       the courts and other parties.

Safir, 792 F.2d at 24. The Court has weighed each of these factors here and concludes that a filing

injunction is warranted in this case.

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         Accordingly, the defendant is hereby directed to show cause, within thirty days of this

Order, why he should not be permanently enjoined from filing any future motion, petition, or other

document in this Court or any other federal court touching upon his 2014 conviction, without prior

authorization of the Court, excepting an appeal from this Order. See Moates v. Barkley, 147 F.3d

207, 208 (2d Cir. 1998) (stating the “unequivocal rule” requiring courts to provide notice and an

opportunity to be heard before imposing a filing injunction on a habeas petitioner with a penchant

for filing frivolous and duplicative claims).

         SO ORDERED.

Dated:          Brooklyn, New York
                July 16, 2018
                                                    /s/
                                                    I. Leo Glasser




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